                Case 1:23-cr-00118-AT Document 12-1 Filed 03/22/23 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                                                      23-cr-00118 (AT)
                  Plaintiff,
                                                           DECLARATION OF STEPHEN R.
      v.                                                   COOK IN SUPPORT OF MOTION
                                                           FOR ADMISSION PRO HAC VICE
HO WAN KWOK, et al.
                                                                      ECF CASE
                  Defendants.




           I, STEPHEN R. COOK, hereby declare as follows:
           1.       I am a partner with the firm of Brown Rudnick LLP;

           2.       I submit this declaration in support of my Motion for Admission Pro Hac Vice in

   the above-captioned matter;

           3.       As shown in the Certificates of Good Standing attached hereto, I am a member in

   good standing of the bars of the state of California and of the District of Columbia. I am

   admitted to practice before several federal courts, including the United States District Court for

   the Central District of California and Northern District of California.

           4.       I have never been convicted of a felony, never been censured, suspended,

   disbarred or denied admission or readmission by any court, and there are no pending

   disciplinary proceedings presently against me in any court.

           5.       I respectfully request to be permitted to appear as counsel pro hac vice in this case

   for Defendant Ho Wan Kwok.

           I declare under penalty of perjury that the foregoing statements are true and correct based

 on my personal knowledge.

           Executed this 22nd day of March, 2023.

                                                       /s/ Stephen R. Cook
                                                       STEPHEN R. COOK
